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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                ALEXANDRIA DIVISION


     UNITED STATES, et al.

                         Plaintiffs,

            v.
                                                              No: 1:23-cv-00108-LMB-JFA
     GOOGLE LLC,

                         Defendant.



   DECLARATION OF ARNAUD CREPUT IN SUPPORT OF NON-PARTY EQUATIV’S
       MEMORANDUM IN SUPPORT OF THE PARTIES’ MOTIONS TO SEAL

  I, Arnaud Creput, pursuant to 28 U.S.C. § 1746, declare as follows:

  1. I am the Chief Executive Officer of Equativ SAS (Equativ), a non-party in this action. I make

     this declaration in support of Equativ’s memorandum in support of the parties’ motion to seal.

     I have personal knowledge of the facts set forth in this declaration, and for any facts of which

     I do not have direct personal knowledge, they are based on information and belief, and I believe

     them to be true. If called upon to testify, I could and would testify competently to the same.

  2. Pursuant to subpoenas issued to Equativ by the parties, Equativ produced documents and data

     (subject to Equativ’s negotiations with the parties over the scope of production). Equativ’s

     productions were designated as Highly Confidential pursuant to the applicable protective order

     in this case. In addition, I sat for a deposition on September 5, 2023, which was designated as

     Highly Confidential.

  3. Through counsel, I understand that the parties in this action have made various submissions to

     the court that contain Equativ’s documents, data, and excerpts from my deposition that contain

     Equativ’s competitively sensitive and highly confidential information. Among other sensitive
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     information, the parties’ submissions include Equativ’s current market shares, revenues, take

     rates, and ad exchange fees, derived from Equativ’s internal, nonpublic, and highly

     commercially sensitive data. The parties’ submissions also include documents and testimony

     discussing Equativ’s competitive strategy, including customer acquisition strategy, evaluation

     of Equativ’s competitive strengths, assessment of market conditions, and insights into

     Equativ’s competitive challenges in the marketplace, all of which impact Equativ’s

     competitive position in the market today. More detailed descriptions are available in Appendix

     A to Equativ’s memorandum in support of the parties’ motion to seal.

  4. Equativ considers all of the data, documents, and testimony referenced in Appendix A to be

     non-public, highly sensitive, confidential, and commercially sensitive, the disclosure of which

     would cause significant competitive harm to Equativ. For example, if a competitor could

     ascertain details of Equativ’s competitive strategy through these materials, it could leverage

     that information to gain an unfair advantage over Equativ.

  5. For this reason, Equativ requests the sealing of the materials contained in Appendix A.



  I certify, under penalty of perjury under the laws of the United States of America that the foregoing

  is true and correct. Executed on June 10th, 2024 in Paris, France.




  ________________
  Arnaud Creput
  Chief Executive Officer, Equativ SAS




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